      Case 1:16-cr-00023-JRH-BKE Document 136 Filed 10/18/16 Page 1 of 3




                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF GEORGIA
                               AUGUSTA DIVISION


 UNITED STATES OF AMERICA                           CR116-23


         v.




 JUSTINA RIVERA


                         CONSENT ORDER OF FORFEITURE


      WHEREAS, on March 3, 2016, a federal grand jury sitting in the Southern

District of Georgia returned a nine-count Indictment against Defendant Justina

Rivera and five co-defendants charging violations of 18 U.S.C. § 1344 (Counts One

through Four - Bank Fraud), 18 U.S.C. § 1349 (Count Five - Conspiracy to Commit

Bank Fraud), and 18 U.S.C. § 1028A(a)(l) (Counts Six through Nine - Aggravated

Identity Theft);

      WHEREAS, the Indictment sought forfeiture pursuant 18 U.S.C. § 982(a)(2)(A)

of any property constituting or derived from proceeds obtained, directly or indirectly,

as a result of such violation(s), and all property traceable to such property, including

but not limited to a sum of money representing the amount of all proceeds obtained

as a result of such offense(s) charged in Counts One through Five of the Indictment,

and all property traceable thereto;

      WHEREAS, the Indictment further provided for the forfeiture of substitute

assets pursuant to 21 U.S.C § 853(p), as incorporated by 18 U.S.C. § 982(b)(1) and 28

U.S.C. § 2461(c), of any other property of Defendant up to the value of the property

subject to forfeiture;
     Case 1:16-cr-00023-JRH-BKE Document 136 Filed 10/18/16 Page 2 of 3




         WHEREAS, on June 21, 2016, pursuant to a written plea agreement, the

Defendant pled guilty to Count Five of the Indictment charging a violation of 18

U.S.C. § 1349, Conspiracy to Commit Bank Fraud;

         WHEREAS, pursuant to her plea agreement, Defendant agreed to entry of an

Order of Forfeiture reflecting a money judgment in the amount of gross proceeds she

received as a result of the violation to which she pled guilty, as determined by the

Court at sentencing; and

         WHEREAS, pursuant to her plea agreement, Defendant agreed to waive the

requirements of Federal Rules of Criminal Procedure ll(b)(l)(J), 32.2, and 43(a)

regarding notice of the forfeiture in the charging instrument, announcement of the

forfeitxu-e at sentencing, and incorporation of the forfeiture in the judgment without

further order of the Court.


         NOW, THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND

DECREED THAT:


         1.   Pursuant to 18 U.S.C. § 982(a)(2)(A), Defendant shall forfeit to the

United States the sum of$___jl_/_2            , which is the sum ofmoney equal to all
gross proceeds traceable to Defendant's offense of conviction.

         2.   This Court shall retain jurisdiction for the purpose of enforcing this

Order.


         3.   Pursuant to Rule 32.2(b)(3) of the Federal Rules of Criminal Procedure,

this Order of Forfeiture shall become final as to Defendant at the time of sentencing,

be made part of the sentence, and be included in the judgment.




                                         -2
     Case 1:16-cr-00023-JRH-BKE Document 136 Filed 10/18/16 Page 3 of 3




      4.     The United States may, at any time, move pursuant to Rule 32.2(e) of

the Federal Rules of Criminal Procedure to amend this Order of Forfeiture to

substitute property to satisfy the money judgment in whole or in part.

      5.     The Clerk of the Court shall forward four certified copies of this Order

to Assistant U.S. Attorney Lamont A. Belk, United States Attorney's Office for the

Southern District of Georgia, P.O. Box 2017, Augusta, Georgia 30903.



Date: /tJlftjtb
                                J. RANDAL HALL, JUDGE
                                UNITEJD STATES DISTRICT COURT
                                        IERN DISTRICT OF GEORGIA


WE ASK FOR THIS:




                                                    Date: /&-/S<~l6>
  Imont A.lSelk
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                                                    Date: j^MJf
JustirfUlivera
Defendant




                                                    Date: /(0M/si?
Grant K.
Attorney for Defendant




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